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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. MJ 07-258
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   RYAN ISAIAH GREEN,                   )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Distribution of Crack Cocaine

15 Date of Detention Hearing:      May 31, 2007

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Defendant has been charged with a drug offense the maximum penalty of which

22 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01 dangerousness and flight risk, under 18 U.S.C. §3142(e).

02          2.     Defendant has an unstable residence history. He was unable to provide addresses

03 for his local residences, and was homeless for a year and a half. His employment history is

04 sporadic. His criminal history includes a residential burglary from October 2006. His record also

05 shows multiple failures to appear for court hearings and failures to comply with court orders. In

06 his interview with Pretrial Services, the defendant complained that in the past he found the

07 reporting requirements of probation too onerous, and opted to serve jail time instead. There are

08 some possible untreated mental health issues. The complaint alleges the defendant’s involvement

09 with firearms trafficking as well as the charged offense of distribution of crack cocaine.

10          3.     Taken as a whole, the record does not effectively rebut the presumption that no

11 condition or combination of conditions will reasonably assure the appearance of the defendant as

12 required and the safety of the community.

13 It is therefore ORDERED:

14          (1)    Defendant shall be detained pending trial and committed to the custody of the

15                 Attorney General for confinement in a correction facility separate, to the extent

16                 practicable, from persons awaiting or serving sentences or being held in custody

17                 pending appeal;

18          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

19                 counsel;

20          (3)    On order of a court of the United States or on request of an attorney for the

21                 Government, the person in charge of the corrections facility in which defendant is

22                 confined shall deliver the defendant to a United States Marshal for the purpose of

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01               an appearance in connection with a court proceeding; and

02         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

03               counsel for the defendant, to the United States Marshal, and to the United States

04               Pretrial Services Officer.

05         DATED this 31st day of May, 2007.



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07                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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